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               IN THE UNITED STATES DISTRICT COURT FOR
           THE NORTHERN DISTRICT OF TEXAS, DALLAS DIVISION

 D&B RUBINSTEIN ENTERPRISES, LLC, a              )
 Florida limited liability company;              )
 ICING ON THE CUPCAKE, LLC, a Florida            )
 limited liability company;                      )
 BARRY RUBINSTEIN, an individual; and            )
 DORIS RUBINSTEIN, an individual;                )
                                                 )
       Plaintiffs,                               )
                                                 )
            v.                                   )
 GIGI’S CUPCAKES, LLC, a Texas limited           )
 liability company;                              )
 KEYCORP, LLC, a Delaware limited liability      )
 company;                                        )
 GIGI HOLDINGS, LLC, a Delaware limited          )
 liability company;                              ) Civil Action No. _____________
 GIGI’S FRANCHISING, LLC; a Tennessee            )
 limited liability company;                      )
 GIGI’S OPERATING, LLC, a Delaware               )
 limited liability company;                      )
 FUNDCORP, INC., a Delaware limited              )
 liability company;                              )
                                                 )
 FOOD BUSINESS SERVICES, LLC, a
                                                 )
 Delaware limited liability company;
                                                 )
 SOVRANO, LLC, a Delaware limited
                                                 )
 liability company;
                                                 )
 ALAN THOMPSON, an individual; and
                                                 )
 GINA BUTLER, an individual.                     )
                                                 )
       Defendants.                               )


           PLAINTIFFS’ ORIGINAL COMPLAINT AND JURY DEMAND


      Plaintiffs D&B Rubinstein Enterprises, LLC (“D&B”), Icing on the Cupcake, LLC

(“Icing”), and Barry and Doris Rubinstein (together, the “Rubinsteins”) (collectively, the



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“Plaintiffs”), through their counsel, Cohen, LLC, hereby submit the following Original

Complaint and Jury Demand (the “Complaint”).


                                       I. PARTIES


1.   Plaintiff D&B Rubinstein Enterprises, LLC (“D&B”) is a Florida limited liability

     company with its principal place of business in the State of Florida.


2.   Plaintiff Icing on the Cupcake, LLC (“Icing”) is a Florida limited liability company

     with its principal place of business in the State of Florida.


3.   Plaintiff Barry Rubinstein is an individual residing within the State of Florida.


4.   Plaintiff Doris Rubinstein is an individual residing within the State of Florida.


5.   Defendant Gigi’s Cupcakes, LLC (“Current Franchisor”) is a Texas limited liability

     company with its principal office address located at 1999 Bryan Street, Suite 900,

     Dallas, Texas 75201-3140.


6.   Defendant KeyCorp, LLC (“KeyCorp”) is a Delaware limited liability company with

     its principal place of business in the State of Texas.


7.   Defendant Gigi’s Holdings, LLC (“Gigi’s Holdings”) is a Delaware limited liability

     company registered in the state of Texas and, upon information and belief, has a

     principal place of business in the State of Texas.




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8.    Defendant Gigi’s Franchising, LLC (“Prior Franchisor”) is a Tennessee limited

      liability company with its principal place of business in the State of Tennessee.

      Upon information and belief, Gigi’s Franchising, LLC has dissolved.


9.    Defendant Gigi’s Operating, LLC (“Gigi’s Operating”) is a Delaware limited

      liability company and, upon information and belief, has a principal place of

      business in the State of Texas.


10.   Defendant FundCorp, Inc. (“FundCorp”) is a Delaware corporation with, upon

      information and belief, a principal place of business in the State of Texas.


11.   Defendant Food Business Services, LLC (“FBS”) is a Delaware limited liability

      company with, upon information and belief, a principal place of business in the

      State of Texas.


12.   Defendant Sovrano, LLC, (“Sovrano”) is a Delaware limited liability company with,

      upon information and belief, a principal place of business in the State of Texas.


13.   Upon information and belief, Defendant Alan Thompson is a resident of the State

      of Tennessee.


14.   Upon information and belief, Defendant Gina Butler is a resident of the State of

      Tennessee.




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                             II. JURISDICTION AND VENUE


15.    The Court has subject matter jurisdiction over Plaintiffs’ claims under 28 U.S.C.

       § 1332 as complete diversity exists between Plaintiffs and Defendants and the

       amount in controversy exceeds $75,000.


16.    Venue is proper pursuant to the United Franchise Agreement (“UFA”) at ¶ 20.3.3,

       (Exhibits B and D), according to which the parties agreed to litigate any disputes

       arising from the UFA in the state wherein Franchisor has its principal place of

       business. While Plaintiffs do not concede as much, Defendants have argued in a

       related case—and the Court has ruled—that venue under the First UFA is proper

       in Texas.


17.    The Court has personal jurisdiction over Defendant Gigi’s Cupcakes, LLC because

       it is a Texas limited liability company with its principal office address located at

       1999 Bryan Street, Suite 900, Dallas, Texas 75201-3140.


18.    The Court has personal jurisdiction over Defendant KeyCorp, LLC because its

       principal place of business is in the State of Texas.


19.    The Court has personal jurisdiction over Defendant Gigi’s Holdings, LLC because

       it is a limited liability company registered in the state of Texas and, upon

       information and belief, has a principal place of business in the State of Texas.




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20.    The Court has personal jurisdiction over Defendant Gigi’s Franchising, LLC

       because Gigi’s Franchising, LLC purposefully availed itself of Texas courts’

       jurisdiction and waived any objections thereto under the First UFA.


21.    The Court has personal jurisdiction over Defendant Gigi’s Operating, LLC because

       it has a principal place of business in the State of Texas and does business therein.


22.    The Court has personal jurisdiction over Defendant FundCorp, Inc. because it has

       a principal place of business in the State of Texas.


23.    The Court has personal jurisdiction over Defendant Food Business Services, LLC

       because it has a principal place of business in the State of Texas and does business

       therein.


24.    The Court has personal jurisdiction over Sovrano, LLC because it has a place of

       business in the State of Texas and does business therein.


25.    The Court has personal jurisdiction over Defendant Alan Thompson because he

       conducts business in the State of Texas and purposefully availed himself of the

       forum jurisdiction.


26.    The Court has personal jurisdiction over Defendant Gina Butler because she

       conducts business in the State of Texas and purposefully availed herself of the

       forum jurisdiction.




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                              III. GENERAL ALLEGATIONS


A.     TENNESSEE DEFENDANTS MISREPRESENT THE PAST AND PRESENT PERFORMANCE OF
       THEFRANCHISE SYSTEM REGARDING GIGI’S CUPCAKES TO INDUCE PLAINTIFFS TO
       ENTER INTO THE FIRST UFA.

27.    In 2011, Ms. Rubinstein was working in a home goods store in Georgia. Near her

       place of employment was a Gigi’s Cupcakes store, which opened at around the

       same time as the home goods store in which Ms. Rubinstein was working. Ms.

       Rubinstein observed that the store was doing well and was intrigued.


28.    In 2012, Mr. Rubinstein obtained a job in Florida, so Ms. Rubinstein moved south

       with him. She transferred to another store with the same home goods company to

       do so.


29.    Later in 2012, Ms. Rubinstein’s daughter died in a car accident. Ms. Rubinstein’s

       grief led her to leave the workforce altogether.


30.    In 2014, Ms. Rubinstein felt ready to return to the workforce. At that point, Mr.

       Rubinstein suggested that she start a business of her own. Ms. Rubinstein started

       doing research about starting a business.


31.    While doing her research Ms. Rubinstein came across Gigi’s story and felt that she

       and Ms. Rubinstein shared the same values. She became interested, especially

       given that she had frequented a Gigi’s Cupcake Store in Bradenton, Florida (the

       “McGaharan Store”).




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32.    In 2014/2015 the Rubinsteins reached out to Prior Franchisor to discuss the

       possibility of opening a franchise. Those discussions eventually led to in-person

       meetings in the Spring of 2015. In March 2015, the Rubinsteins flew to Nashville,

       Tennessee to meet with Gigi and Thompson personally.


33.    The Rubinsteins told Prior Franchisor that they were looking for a store as close to

       their home as possible. The McGaharan Store would have been a perfect location.

       In fact, the Rubinsteins specifically referenced the McGaharan Store to Prior

       Franchisor and what a perfect location that would be.


34.    Prior Franchisor specifically prohibited the Rubinsteins from talking to the

       McGaharans, telling the Rubinsteins that the McGaharans had a bad relationship

       with Prior Franchisor and should not be contacted. That is when the Rubinsteins

       began looking at other locations.


35.    Plaintiffs identified St. Armand Circle, Florida as an acceptable location. When

       Plaintiffs communicated their interest to Gigi, she immediately expressed

       excitement. This was, after all, one of her “favorite vacation” spots. Gigi told the

       Rubinsteins that their store would generate $ 1 million a year.


36.    During this negotiation process, Gigi and Thompson took the Rubinsteins out to

       dinner and treated them as though they were now “friends.”


37.    Although the Rubinsteins did not have a location yet, Thompson kept pressuring

       them to sign a UFA. Because of this pressure, the Rubinsteins, on behalf of D&B,

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       signed a UFA in June 2015, paid a $35,000 fee, but did not have a location—let

       alone a store. Exhibit B. Note that although the First UFA was signed in June 2015,

       the cover page indicates it was effective as of May 4, 2015. In other words, Prior

       Franchisor wanted the First UFA signed whether or not the Rubinsteins were

       actually operating a franchise.


38.    In 2016, D&B and the Rubinsteins had leased a store location but no operating

       store yet. Unrelenting and unrepentant, Gigi began pressuring the Rubinsteins to

       buy the McGaharan Store even though they had not even had an opportunity to

       launch their own. Plaintiffs turned down the suggestion and instead focused on

       their store’s build out and ramp up to opening.


39.    Prior Franchisor told Plaintiffs, and other franchisees, that they would not be

       authorized to open any store unless they had 35 people on payroll on their first

       day. The demand was ludicrous, generally, and physically impossible for the

       Rubinsteins and D&B with which to comply because the store itself would not fit

       35 people.


40.    Prior Franchisor compelled the Rubinsteins and D&B to buy certain ingredients,

       from particular providers, in specific quantities. Some of these ingredients were

       not usable and stayed in the store for a year.


41.    Upon information and belief, Thompson would force franchisees to buy

       equipment, then buy it when they went out of business, and re-sell it to new


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       franchisees as though it was a “bargain.” He sold equipment in this manner to the

       Rubinsteins. In fact, while Thompson represented that he was making the

       Rubinsteins “a deal” and that this was a “one-time thing” he was actually making

       a handsome profit on the sale. The Rubinsteins and D&B bought equipment from

       Thompson which they could have obtained for far less from resellers.


42.    The day before the Rubinsteins and D&B finally opened their store, Thompson

       and Gigi contacted the Rubinsteins and D&B and told the Rubinsteins they were

       selling Prior Franchisor. Gigi told the Rubinsteins and D&B that she and

       Thompson did not really have experience running a franchise, but the new buyer

       would.


43.    Had the Rubinsteins known that Prior Franchisor was about to be sold they would

       not have bought any franchises at all. Plaintiffs were buying into the small

       business vision, not into a private equity operation.


44.    Shortly thereafter, the Rubinsteins received the Franchise Disclosure Document

       (the “FDD”). Exhibit C.


45.    Upon information and belief, the FDD was created, read, and approved by Gigi

       and Thompson.


46.    Unbeknownst to the Rubinsteins, the FDD provided to them by Prior Franchisor

       intentionally and materially misrepresented the past, present, and future viability

       of the franchise’s business model at the time it was presented to the Rubinsteins.

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        Further, Prior Franchisor fraudulently concealed negative material aspects of the

        franchise’s business model.


47.     Specifically, and upon information and belief, Item 19 of the FDD contained a table

        showing net sales, cost of goods sold (“COGS”), labor, location expenses,

        operating expenses, and earnings before interest, depreciation, taxes, and

        amortization (“EBITDA”) values for affiliate stores—not franchised stores—

        which, inter alia, understated the cost of labor by at least 20-33% by not taking into

        account reasonable salaries paid to franchise owners who work at the store. In

        other words, the figures represented in the FDD assumed that owners who work

        in the store either work for free or take an unreasonably small salary.


48.     Next, and upon information and belief, figures representing the net sales and

        COGS used in the two tables in Item 19 of the FDD, were falsified and materially

        understated by at least 20-33%.


49.     Even assuming Prior Franchisor’s figures in Item 19 were accurate calculations,

        upon information and belief, the figures used in these tables were misleading

        because Prior Franchisor “cherry picked” the best performing stores rather than

        using a more representative sample.


50.     Upon information and belief, some of the stores used in the Item 19 calculations

        were corporate-owned franchise stores that do not pay royalties, thereby further

        skewing the data.


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51.     Upon information and belief, no total or average labor costs, COGS, operating

        expenses, EBITDA figures for all franchised stores appear in Item 19 of the First

        FDD.


52.     The intent of these misrepresentations and omissions by Prior Franchisor was to

        induce Plaintiffs to execute a UFA and then a second UFA with Prior Franchisor

        by painting a portrait of profitability that was far in excess of what prospective

        franchisees such as the Plaintiffs could reasonably expect to attain under the Gigi’s

        Cupcakes business model.


53.     As further indication of Prior Franchisor’s fraudulent scheme, on October 18, 2016,

        KeyCorp, the parent corporation which ultimately acquired Prior Franchisor,

        initiated a lawsuit against Gigi’s Holdings and Gigi’s Franchising 1 (attached

        hereto and incorporated herein as Exhibit A) asserting, inter alia, that Prior

        Franchisor misrepresented the economic health of the franchise system—Prior

        Franchisor had represented to KeyCorp that only five stores had threatened to

        close or withdraw from the franchise system, but in reality the number was 32

        stores. (See Exhibit A, ¶ 25). 2


54.     As inferred from Exhibit A, the number of stores KeyCorp stated as having

        threatened to close or withdraw from the franchise system is a significantly large



1 KeyCorp, LLC v. Gigi’s Holdings, LLC, et al., Plaintiff’s Original Complaint, Case No.:
3:16-cv-02930-L (N.D. Tex.)
2 Exhibit A is attached hereto and incorporated herein.

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        percentage of the total number of Gigi’s Cupcakes franchises in operation and

        indicates the financial viability of the Gigi’s Cupcakes business model was, from

        the beginning, not as advertised to Plaintiffs.


55.     If Plaintiffs had known the true state of affairs of the Gigi’s Cupcakes franchise

        system, Plaintiffs would have decided not to execute the First UFA in the first place

        and certainly not a second one.


56.     Plaintiffs, without knowledge of the falsity of the information in the FDD, did

        indeed rely upon the financial representations made in Item 19 of the FDD and the

        FDD itself when making their decision to enter into a UFA and their agreement to

        enter into a second UFA.


B.      DESPITE PLAINTIFFS’ BEST EFFORTS, THEIR FRANCHISING EFFORTS                      ARE
        UNSUCCESSFUL, PERMANENTLY FINANCIALLY DEVASTATING THEM.

57.     The Rubinsteins and D&B opened their store on May 24, 2016 on St. Armand Circle

        (the “St. Armand Location”). Prior Franchisor insisted that the Rubinsteins & D&B

        have a Grand Opening six weeks after they opened.


58.     On their first day, during which the store was only open a few hours, D&B made

        $72. On their second day, D&B made approximately $200. Business did not get

        better. Prior Franchisor kept insisting that the Rubinsteins and D&B buy the

        “Grand Opening Package” for $850 and that they purchase giveaway prizes. By

        this point, the Rubinsteins had exhausted every cent they had. They had no money

        to make these purchases.

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59.     During this time, Mr. Rubinstein was withdrawing about $10,000 a month to keep

        the franchise afloat. This was after the initial significant investment Mr. Rubinstein

        had already made into the business.


60.     KeyCorp, now in charge, raised the prices on the supplies that franchisees had to

        purchase. This increase was an increase of about 30% and further destroyed any

        profitability the franchise could have had. KeyCorp also threatened that any

        franchisee purchasing outside the approved vendors would be immediately

        terminated.


61.     Based on conversations with a distributor representative, the Rubinsteins and

        D&B confirmed that KeyCorp was unilaterally increasing costs and collecting

        profit on it from franchisees.


62.     The Rubinsteins and D&B voiced their frustrations and made no secret that their

        St. Armand Location was in trouble.


63.     In late 2016 and early 2017, Kevin Bauerle (who was originally in marketing with

        Prior Franchisor and went to work with Thompson as a broker for franchises after

        Prior Franchisor’s sale to KeyCorp), Thompson (now acting as a broker, selling

        Gigi’s franchises), and Michael Skelton (also a former Prior Franchisor employee)

        began pressuring the Rubinsteins to buy the McGaharan Location. This pressure

        took the form of daily phone calls to close the deal.




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64.     In an attempt to salvage their investment, the Rubinsteins relented and purchased

        the McGaharan Location in February 2017, to be operated by a new entity, Icing.

        KeyCorp, now in charge (as explained further below), approved the Rubinstein’s

        purchase of the McGaharan Location, to be operated by Icing.


65.     The Rubinsteins closed their St. Armand Location in March 2017. KeyCorp tried

        to collect reparations and/or damages from Plaintiffs for their closure of the St.

        Armand Location. In addition, in order to get out of their St. Armand Circle lease

        Plaintiffs had to pay $50,000.


66.     KeyCorp sent a UFA to the Rubinsteins and Icing, dated February 7, 2017.

        Exhibit D (the “Second UFA”) (collectively, with the First UFA, the “UFAs”). The

        Rubinsteins and Icing struck several clauses of the Second UFA and returned it,

        signed, to KeyCorp. KeyCorp did not respond until many months later when

        Plaintiffs asked for a copy of the signed Second UFA. At that point, KeyCorp tried

        to send the Rubinsteins and Icing an original copy of the Second UFA but the

        Rubinsteins and Icing refused to sign it.


67.     Notwithstanding the above, KeyCorp continued to accept royalties and

        advertising payments for the McGaharan Location from February 2017 to March

        2018.


68.     KeyCorp continued its practices of demanding that franchisees purchase from

        particular vendors at exorbitant costs that made profitability impossible.


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69.     In April 2018 the Rubinsteins and Icing shut down the McGaharan Location.


70.     Over the course of this ordeal, Plaintiffs had taken out a Small Business

        Administration loan for $379,000 of which $340,000 remains unpaid to this date.

        In addition, the Rubinsteins sunk another $400,000 into the company. In their 2016

        tax returns, Plaintiffs reported a $343,000 loss, which was after offsetting Mr.

        Rubinstein’s regular income, indicating the loss caused by the Gigi’s store was

        even greater. The Rubinsteins have lost their retirement, their life savings, and are

        having difficulty paying the SBA loan.


71.     Defendants’ actions, quite literally, took Rubinsteins’ life’s work away from them.


C.      KEYCORP PURCHASES PRIOR FRANCHISOR              AND THE   FRAUDULENT TRANSFERS
        CONTINUE.

72.     Upon information and belief, on or about May 3, 2016, KeyCorp, Gigi’s Holdings,

        and Prior Franchisor entered into an Asset Purchase Agreement in which

        substantially all of the UFAs entered into by Prior Franchisor were assigned to

        KeyCorp without novation.


73.     As articulated above, KeyCorp filed a complaint in this very Court against Gigi’s

        Holdings and Prior Franchisor on October 18, 2016 (see Exhibit A).


74.     According to KeyCorp itself, in Paragraph 7 on page 2 of Exhibit A, KeyCorp was

        the entity that purchased the assets from Gigi’s Holdings and Prior Franchisor in

        exchange for $6 million.


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75.     Upon information and belief, KeyCorp had not previously had any experience

        operating a bakery franchise and possessed none of the economy of experience

        enjoyed by Prior Franchisor.


76.     In Paragraph 8 of Exhibit A, KeyCorp alleged “[i]n the months prior to closing

        [the] transaction, KeyCorp expended hundreds of thousands of dollars in

        conducting its legal and business due diligence. This process took several months

        and required KeyCorp to retain additional management personnel and industry

        experts and advisors.”


77.     KeyCorp’s lawsuit against Gigi’s Holdings and Prior Franchisor was settled

        shortly after the Complaint was filed.


78.     KeyCorp and Prior Franchisor discovered and were aware of the fraud and other

        wrongdoings committed against Plaintiffs.


79.     KeyCorp and Gigi’s Cupcakes, LLC decided to perpetuate the fraud and other

        wrongdoings committed against Plaintiffs.


80.     KeyCorp and Gigi’s Cupcakes, LLC are therefore specifically liable for Prior

        Franchisor, Gigi, and Thompson’s fraud because they had notice of that fraud at

        or before they executed the Asset Purchase Agreement.


81.     Thompson and Gigi, the senior management of Prior Franchisor, were hired by

        KeyCorp and continue to work for KeyCorp.


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82.     Upon information and belief, Gigi and Thompson acquired an ownership interest

        in Gigi’s Cupcakes, LLC after the Asset Purchase Agreement, evidenced by their

        continuing presence and influence over operation of the Gigi’s franchise system.


83.     Both Prior Franchisor and Gigi’s Holdings legally dissolved after the execution of

        the Asset Purchase Agreement.


84.     Upon information and belief, in the Asset Purchase Agreement, KeyCorp acquired

        Prior Franchisor’s current liabilities, accounts payable, and contracts, including its

        UFAs, and continues to enforce and benefit from those contracts. Gigi’s Cupcakes,

        LLC and KeyCorp thereby assumed Prior Franchisor’s liabilities to the extent

        necessary for the uninterrupted continuation of the Prior Franchisor’s business.


85.     Gigi’s Cupcakes, LLC and KeyCorp therefore assumed all of Prior Franchisor’s

        liabilities under the “de facto merger” or “mere continuation” theories of successor

        liability.


86.     Upon information and belief, once Prior Franchisor’s assets were purchased by

        KeyCorp, the assets were transferred to one or more shell companies (i.e. Gigi’s

        Cupcakes, LLC and/or Gigi’s Operating) wholly-owned by KeyCorp in exchange

        for stock of little to no value for the express and intentional purpose of hindering

        any future attempts by Plaintiffs to recover from the appropriate party or to

        defraud Plaintiffs.




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87.     Thereafter, Gigi’s Cupcakes, LLC took over the operations of Prior Franchisor and

        incorrectly held itself out to Plaintiffs to be the direct successor of the Prior

        Franchisor.


88.     Gigi’s Cupcakes, LLC then paid FundCorp a $500,000 “loan fee” in exchange for

        FundCorp agreeing to guarantee Gigi’s Cupcakes, LLC ‘s debts.               Upon

        information and belief, FundCorp is a wholly-owned subsidiary of KeyCorp.


89.     Since the sale of Prior Franchisor, Gigi’s Cupcakes, LLC also leased property from

        FundCorp for approximately $100,000 per year.


90.     Since the sale of Prior Franchisor, Gigi’s Cupcakes, LLC also paid, and continues

        to pay, KeyCorp $15,000 per month for “performing management services.”


91.     Gigi’s Cupcakes, LLC also paid FBS approximately $783,000 between June 2, 2016

        and December 25, 2016 for “general and administrative services including payroll

        services.” Upon information and belief FBS is a wholly-owned subsidiary of

        KeyCorp, and Gigi’s Cupcakes, LLC continues to pay FBS at a rate of

        approximately $1.4 million per year.


92.     Further, Sovrano, which upon information and belief is a wholly-owned

        subsidiary of KeyCorp, made payments to FBS “on behalf of” Gigi’s Cupcakes,

        LLC for alleged services and rent that FBS provided to Gigi’s Cupcakes, LLC,

        which Gigi’s Cupcakes, LLC recorded as a debt to Sovrano.



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93.     On or about December 25, 2016, Gigi’s Cupcakes, LLC was operationally insolvent

        by at least $360,000, and upon information and belief, Gigi’s Cupcakes, LLC

        continues to be unable to meet its financial obligations.


94.     On or about December 25, 2016, Gigi’s Cupcakes, LLC’s audited financial

        statements declared that “[Plaintiff] has sustained losses from operations during

        the period June 2, 2016 through December 25, 2016. [Gigi’s Cupcakes, LLC] ability

        to meet its obligations in the ordinary course of business depends upon its ability

        to generate positive cash flows. Management plans to meet its obligations in the

        ordinary course of business by collecting revenue and utilizing its existing debt

        financing. If these sources of cash do not adequately fund current levels of

        operations of the Company, management will adjust the level of operations and

        cash expenditures to an internally sustainable level.”


95.     In Gigi’s Cupcakes, LLC ‘s most recent FDD filed with the State of Minnesota, as

        amended on June 9, 2017, Gigi’s Cupcakes, LLC admitted that “[GIGI’S

        CUPCAKES, LLC’S] FINANCIAL CONDITION, AS REFLECTED IN ITS

        FINANCIAL STATEMENTS (SEE ITEM 21), CALLS INTO QUESTION THE

        [GIGI’S CUPCAKES, LLC’S] FINANCIAL ABILITY TO PROVIDE SERVICES

        AND SUPPORT TO [THE FRANCHISEE].” (Emphasis in original).


96.     Gigi’s Cupcakes, LLC does not provide their updated FDDs to existing

        franchisees, and the FDDs are not easily obtainable by the public. Plaintiffs did



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        not have actual or constructive knowledge that Gigi’s Cupcakes, LLC was

        insolvent prior to this litigation.


97.     Upon information and belief, despite knowing that Gigi’s Cupcakes, LLC was

        insolvent, KeyCorp, FundCorp, Sovrano, and FBS were attempting to extract as

        much value from Gigi’s Cupcakes, LLC as possible to pay the insiders of KeyCorp;

        when the scheme became financially unsustainable, Gigi’s Cupcakes, LLC

        attempted to offset the payments it was making to KeyCorp, FundCorp, and FBS

        by extracting more money from Plaintiffs and other franchisees in the form of

        kickbacks and markups from the franchise system’s food distributors Plaintiffs

        were required to use (described below).


D.      PLAINTIFFS INITIATE DISPUTE RESOLUTION PROCEDURES            AND    GIGI’S CUPCAKES,
        LLC NEGOTIATES IN BAD FAITH BY NOT DISCLOSING                ITS   OWN CONTINUING
        INSOLVENCY.

98.     Pursuant to dispute resolution process in the UFAs, counsel for Plaintiffs sent a

        letter to Gigi’s Cupcakes, LLC on or about July 27, 2017, demanding mediation

        regarding the various issues described in this Original Complaint and Jury

        Demand.


99.     On or about July 30, 2017, Gigi’s Cupcakes, LLC, through counsel, sent a response

        letter to counsel for Plaintiffs asserting that Plaintiffs “mistakenly presume[d] that

        each of [the franchisees’] economic circumstances should have been weighed in

        reaching the decision to shift to the MUG agreement.” The MUG agreement was



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       KeyCorp’s way of requiring franchisees to use new food distributors that charged

       materially higher prices to franchisees.


100.   Pursuant to the UFAs, a mediation between Gigi’s Cupcakes, LLC, Plaintiffs, and

       other franchisees was held in Tennessee on October 23, 2017.


101.   Though on October 23, 2017, Gigi’s Cupcakes, LLC was likely insolvent, this

       significant and important fact was never disclosed to Plaintiffs or to other

       franchisees, which would have materially affected Plaintiffs’ negotiating position.


102.   Gigi’s Cupcakes, LLC also attempted to convince Plaintiffs that KeyCorp was not

       an important factor in the resolution of Plaintiffs’ claims.


103.   It is clear from, inter alia, 1) KeyCorp’s fraudulent transfer of the UFAs to Gigi’s

       Cupcakes, LLC; 2) the extent of payments Gigi’s Cupcakes, LLC is making to

       corporate insiders when Gigi’s Cupcakes, LLC is knowingly insolvent; 3) Gigi’s

       Cupcakes, LLC’s self-disclosed insolvency in their recent FDD; 4) Gigi’s Cupcakes,

       LLC’s statement in its July 30, 2017 letter disregarding the economic circumstances

       of its franchisees; 5) Gigi’s Cupcakes, LLC’s decision to enter into the MUG

       contract which forces franchisees to accept necessary food and supply prices far in

       excess of prices available to the public at large; 6) Gigi’s Cupcakes, LLC’s earning

       of an 8% proprietary markup on already exorbitant prices offered by the MUG

       distributors; 7) the change in minimum order metrics by the MUG distributors

       which forces franchisees to place significantly larger orders to receive shipments;


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       8) the $75 surcharge for orders less than 30 items which, upon information and

       belief, is a kickback to Gigi’s Cupcakes, LLC; 9) Gigi’s Cupcakes, LLC’s efforts to

       prevent franchisees from leaving the system by persuading angry franchisees that

       Gigi’s Cupcakes, LLC’s abuses were temporary when in fact the abuses are

       permanent; and 10) Gigi’s Cupcakes, LLC’s bad faith negotiating tactics during

       dispute resolution and not using its “Reasonable Business Judgment” but is

       instead attempting to maximize its own revenue for the benefit of KeyCorp and

       its members at the expense of all Gigi’s Cupcakes franchisees, including Plaintiffs.


E.     A&M FUND USED TO RUN THE INSOLVENT COMPANY.

104.   According to Section 8 of the UFAs, D&B and Icing were each required to

       contribute 3% of their “Gross Business Volume” to Franchisor for inclusion in an

       advertising and marketing fund (referred to as the Advertising and Marketing

       Fund (the “A&M Fund”) in the First UFA and the “MDF Program” in the Second

       UFA).


105.   Both D&B and Icing paid 3% of Gross Business Volume monthly to Franchisor for

       inclusion in the A&M Fund and MDF Program, respectively, for all months they

       remained in operation.


106.   According to Section 8.1 of the UFAs, Franchisor or its designee was required to

       “exclusively maintain and administer any program Gigi’s shall undertake for




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       national and/or regional and/or local advertising, public relations, marketing and

       market research . . .”


107.   According to Section 8.5 of the UFAs, “[n]o part of the A&M Fund [and MDF] shall

       be used by Franchisor to defray any of its general operating expenses other than

       those reasonably allocable to the A&M Program [and MDF Program] or other

       activities as are reasonably related to the administration or direction of the A&M

       Program [and MDF Program].”


108.   Plaintiffs have not seen or heard any national, regional, or local advertising for

       Gigi’s Cupcakes that were paid for by Prior Franchisor or Gigi’s Cupcakes, LLC’s,

       with the exception of one television episode of Undercover Boss which aired on or

       about February 2015.


109.   Upon information and belief, even if Prior Franchisor or Gigi’s Cupcakes LLC have

       been spending the accumulated A&M Fund/MDF Fund for advertising and

       marketing, such advertising and marketing has been purchased only in Tennessee

       and Texas for the benefit of the corporate-owned stores rather than for franchisees

       in other states.


110.   Plaintiffs have heard of numerous instances in which other Gigi’s Cupcakes

       franchisees requested an accounting of the A&M Fund/MDF Fund to no avail.


111.   Given the general lack of visible national, regional, or local marketing paid for by

       Prior Franchisor or Gigi’s Cupcakes, LLC, Plaintiffs believe Prior Franchisor and

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       Gigi’s Cupcakes, LLC have misappropriated the A&M Funds/MDF Funds in

       contravention of the UFAs and other applicable law.


F.     APPLICABLE LAWS.


112.   Pursuant to Section 20.1 of the First UFA, it states, “and any dispute between

       Franchisor and Franchisee shall be governed by and construed in accordance with

       the laws of the State of Tennessee (without regard to the application of Tennessee

       conflicts of law principles) and the United States of America.” As a result, the laws

       of Tennessee govern the First UFA.


113.   Pursuant to Section 20.1 of the Second UFA, it states, “any dispute between

       Franchisor and Franchisee shall be governed by and construed in accordance with

       the laws of the State of Texas (without regard to the application of conflicts of law

       principles) and the United States of America. As a result, the laws of Texas govern

       the Second UFA.


G.     PIERCING THE CORPORATE VEIL.


114.   Upon information and belief, Gigi’s Cupcakes, LLC is a wholly-owned subsidiary

       of KeyCorp.


115.   Upon information and belief, KeyCorp completely controls the finances, policies,

       and business practices of Gigi’s Cupcakes, LLC such that Gigi’s Cupcakes, LLC

       has no separate will or existence of its own.


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116.   KeyCorp used its control of Gigi’s Cupcakes, LLC to commit, inter alia, the

       fraudulent transfers, breaches of contract and other wrongdoings discussed supra.


117.   Gigi’s Cupcakes, LLC is currently insolvent and unable to satisfy its legal and

       financial obligations.


118.   KeyCorp’s control of Gigi’s Cupcakes, LLC proximately caused Plaintiffs’

       damages.


119.   Therefore, this Court should “pierce the corporate veil” and hold KeyCorp liable

       for all Gigi’s Cupcakes, LLC’s wrongdoings.


                                IV. PLAINTIFFS’ CLAIMS

                                 FIRST CLAIM FOR RELIEF

                (Deceit Based on Fraud Against Prior Franchisor, Gigi,
                  Thompson, Gigi’s Cupcakes, LLC, and KeyCorp)


120.   Plaintiffs hereby reallege and reassert all preceding Paragraphs of this Original

       Complaint and Jury Demand as if fully set forth herein.


121.   Prior Franchisor, Gigi, and Thompson made material misrepresentations, inter alia,

       in Item 19 of the FDD provided to Plaintiffs prior to the execution of the First UFA

       concerning the profitability and viability of a Gigi’s Cupcakes business. Further,

       Prior Franchisor, Gigi, and Thompson made material misrepresentations in the

       FDD regarding Prior Franchisor’s financial health and operational solvency.




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122.   Prior Franchisor, Gigi, and Thompson’s representations in Item 19 of the FDD

       provided to Plaintiffs concerning the profitability and viability of a Gigi’s

       Cupcakes business and their representations concerning Prior Franchisor’s

       financial health and operational solvency were false.


123.   Prior Franchisor, Gigi, and Thompson knew that their representations concerning

       the profitability and viability of a Gigi’s Cupcakes business and Prior Franchisors

       financial health and solvency were false, or, in the alternative, Prior Franchisor,

       Gigi, and Thompson made these representations recklessly without knowing

       whether they were true or false.


124.   Prior Franchisor, Gigi, and Thompson intended that Plaintiffs rely on the

       misrepresentations in the FDD and execute the First UFA in reliance on those

       misrepresentations.


125.   Plaintiffs did not know that the misrepresentations in the FDD were false and were

       justified and reasonable reliance upon the truth of those representations when

       executing the UFA.


126.   Plaintiffs sustained damages as a result of their reliance upon the truth of the

       representations in the FDD.


127.   Gigi’s Cupcakes, LLC and KeyCorp are jointly and severally liable for Prior

       Franchisor’s fraud because they had notice of that fraud at or before they acquired

       Prior Franchisor’s assets.

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128.   Additionally, Gigi’s Cupcakes, LLC and KeyCorp are jointly and severally liable

       for all Prior Franchisor’s wrongdoings as corporate successors.


       WHEREFORE, Plaintiffs pray for the relief described at the conclusion of Original

Complaint and Jury Demand.


                             SECOND CLAIM FOR RELIEF
           (Fraud by Concealment/Omission Against Prior Franchisor, Gigi,
                   Thompson, Gigi’s Cupcakes, LLC, and KeyCorp)


129.   Plaintiffs hereby reallege and reassert all preceding Paragraphs of this Original

       Complaint and Jury Demand as if fully set forth herein.


130.   Prior Franchisor, Gigi, and Thompson concealed and suppressed accurate

       financial information on Item 19 of the FDD concerning the profitability and

       viability of a Gigi’s Cupcakes business. Further, Prior Franchisor, Gigi, and

       Thompson concealed and suppressed accurate financial information in the FDD

       concerning Prior Franchisor’s financial health and operational solvency.


131.   Prior Franchisor, Gigi, and Thompson, by making misleading financial

       representations in the FDD, had a duty to supplement those representations with

       accurate financial information to the Plaintiffs.


132.   Prior Franchisor, Gigi, and Thompson, by making representations which became

       untrue or misleading had a duty to correct those representation with new

       information, which they failed to do.



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133.   Prior Franchisor, Gigi, and Thompson, by making partial disclosures conveyed a

       false impression of their financial health and performance.


134.   Prior Franchisor, Gigi, and Thompson intentionally concealed or suppressed

       accurate financial information in the FDD with the intent to deceive the Plaintiffs.


135.   Plaintiffs were not aware of the accurate financial information that Prior

       Franchisor, Gigi, and Thompson failed to disclose in the FDD and would not have

       purchased a Gigi’s Cupcakes franchise had they known of the concealed and

       suppressed financial information. Plaintiffs would not have sold their franchise as

       they did, for the price they did, nor when they did, had they known of the

       concealed and suppressed financial information.


136.   As a result of the concealment and suppression of this information, Plaintiffs

       suffered damages.


137.   Gigi’s Cupcakes, LLC and KeyCorp are jointly and severally liable for Prior

       Franchisor’s fraud because they had notice of that fraud at or before the time they

       acquired Prior Franchisor’s assets.


138.   Additionally, Gigi’s Cupcakes, LLC and KeyCorp are jointly and severally liable

       for all Prior Franchisor’s wrongdoings as corporate successors.


       WHEREFORE, Plaintiffs pray for the relief described at the conclusion of this

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                              THIRD CLAIM FOR RELIEF
             (Negligent Misrepresentation Against Prior Franchisor, Gigi,
                   Thompson, Gigi’s Cupcakes, LLC, and KeyCorp)


139.   Plaintiffs hereby reallege and reassert all preceding Paragraphs of this Original

       Complaint and Jury Demand as if fully set forth herein.


140.   In the course of their business dealings as franchisors, Prior Franchisor, Gigi, and

       Thompson made material representations, inter alia, in Item 19 of the FDD

       provided to Plaintiffs prior to the execution of the First UFA concerning the

       profitability and viability of a Gigi’s Cupcakes business. Further, Prior Franchisor,

       Gigi, and Thompson made material misrepresentations in the FDD regarding

       Prior Franchisor’s financial health and operational solvency.


141.   Prior Franchisor, Gigi, and Thompson’s representations in Item 19 of the FDD

       provided to Plaintiffs concerning the profitability and viability of a Gigi’s

       Cupcakes business were false. Further, Prior Franchisor, Gigi, and Thompson’s

       representations in the FDD regarding Prior Franchisor’s financial health and

       operational solvency were false.


142.   Prior Franchisor, Gigi, and Thompson failed to exercise reasonable care in

       communicating the information in the FDD concerning the profitability and

       viability of a Gigi’s Cupcakes business and Prior Franchisor’s financial health and

       operational solvency.




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143.   Prior Franchisor, Gigi, and Thompson supplied false information for the guidance

       of Plaintiffs in their business.


144.   Prior Franchisor, Gigi, and Thompson intended Plaintiffs to rely upon the

       misrepresentations in the FDD and execute the First UFA in reliance on those

       misrepresentations.


145.   Plaintiffs did not know that the misrepresentations in the FDD were false and were

       justified in relying upon the truth of those representations when executing the

       UFAs.


146.   Plaintiffs sustained damages as a result of their reliance upon the truth of the

       representations in the FDD.


147.   Gigi’s Cupcakes, LLC and KeyCorp are jointly and severally liable for Prior

       Franchisor’s negligent misrepresentations because they had notice of those

       misrepresentations at or before the time they acquired Prior Franchisor’s assets.


148.   Additionally, Gigi’s Cupcakes, LLC and KeyCorp are jointly and severally liable

       for all Prior Franchisor’s wrongdoings as corporate successors.


       WHEREFORE, Plaintiffs pray for the relief described at the conclusion of this

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                             FOURTH CLAIM FOR RELIEF
          (Breach of Contract Against Gigi’s Cupcakes, LLC, and KeyCorp)


149.   Plaintiffs hereby reallege and reassert all preceding Paragraphs of this Original

       Complaint and Jury Demand as if fully set forth herein.


150.   Plaintiffs’ UFAs states, inter alia, that the parties shall resolve disputes through

       good faith negotiations and, if negotiations fail, by good faith mediation.


151.   Gigi’s Cupcakes, LLC and Plaintiffs engaged in mediation, and that process failed

       to resolve their disputes.


152.   Defendants failed to discuss or mention their insolvency with Plaintiffs during the

       mediation. Further, Defendants insisted KeyCorp was not involved with Gigi’s

       Cupcakes, LLC’s operations or its disputes with Plaintiffs and other franchisees

       when in fact Defendants knew that KeyCorp was an important party to those

       disputes.


153.   Based on these actions, Gigi’s Cupcakes, LLC failed to negotiate or mediate with

       Plaintiffs in good faith.


154.   Plaintiffs suffered damages as a result of Gigi’s Cupcakes, LLC’s breach.


       WHEREFORE, Plaintiffs pray for the relief described at the conclusion of this

Original Complaint and Jury Demand




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                                FIFTH CLAIM FOR RELIEF
                     (Breach of Contract against Prior Franchisor)
155.   Plaintiffs hereby reallege and reassert all preceding Paragraphs of this Original

       Complaint and Jury Demand as if fully set forth herein.


156.   Plaintiffs and Prior Franchisor entered into the First UFA which required Plaintiffs

       to contribute 3% of its “Gross Business Volume” to Franchisor for inclusion in the

       A&M Fund.


157.   Plaintiffs paid 3% of its “Gross Business Volume” to Prior Franchisor in

       accordance with the UFA for all months Plaintiffs remained in operation.


158.   The First UFA also states that Franchisor or its designee must “exclusively

       maintain and administer any program Gigi’s shall undertake for national and/or

       regional and/or local advertising, public relations, marketing and market research

       . . .” and that “[n]o part of the A&M Fund shall be used by Franchisor to defray

       any of its general operating expenses other than those reasonably allocable to the

       A&M Program or other activities as are reasonably related to the administration

       or direction of the A&M Program.”


159.   Prior Franchisor breached these provisions, inter alia, of the UFA by failing to

       consistently or substantially provide national, regional, or local advertising for

       Gigi’s Cupcakes and by, upon information and belief, using the A&M Fund to

       defray general operating expenses.




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160.   Plaintiffs suffered damages because of Prior Franchisor’s breaches of the contract.


       WHEREFORE, Plaintiffs pray for the relief described at the conclusion of this

Original Complaint and Jury Demand.


                               SIXTH CLAIM FOR RELIEF
          (Breach of Contract Against Gigi’s Cupcakes, LLC, and KeyCorp)


161.   Plaintiffs hereby reallege and reassert all preceding Paragraphs of this Original

       Complaint and Jury Demand as if fully set forth herein.


162.   Plaintiffs and Prior Franchisor entered into a UFA on January 23, 2013, which

       required Plaintiffs to contribute 3% of its “Gross Business Volume” to Franchisor

       for inclusion in the A&M Fund.


163.   Plaintiffs paid 3% of its “Gross Business Volume” to Gigi’s Cupcakes, LLC in

       accordance with the UFA for all months Plaintiffs remained in operation.


164.   The UFA also states that Franchisor or its designee must “exclusively maintain and

       administer any program Gigi’s shall undertake for national and/or regional

       and/or local advertising, public relations, marketing and market research . . .” and

       that “[n]o part of the A&M Fund shall be used by Franchisor to defray any of its

       general operating expenses other than those reasonably allocable to the A&M

       Program or other activities as are reasonably related to the administration or

       direction of the A&M Program.”




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165.   Gigi’s Cupcakes, LLC breached these provisions, inter alia, of the UFA by failing

       to consistently or substantially provide national, regional, or local advertising for

       Gigi’s Cupcakes and, upon information and belief, by using the A&M Fund to

       defray general operating expenses.


166.   Plaintiffs suffered damages because of Gigi’s Cupcakes, LLC and KeyCorp’s

       breaches of the contract.


       WHEREFORE, Plaintiffs pray for the relief described at the conclusion of this

Original Complaint and Jury Demand.


                             SEVENTH CLAIM FOR RELIEF
          (Breach of Contract Against Gigi’s Cupcakes, LLC, and KeyCorp)


167.   Plaintiffs hereby reallege and reassert all preceding Paragraphs of this Original

       Complaint and Jury Demand as if fully set forth herein.


168.   Plaintiffs and KeyCorp, through Gigi’s Cupcakes, LLC, entered into the Second

       UFA by accepting the signed draft and accepting payments thereunder through

       its termination.


169.   As a result of this conduct, KeyCorp, Gigi’s Cupcakes, LLC, Icing, and the

       Rubinsteins became parties to the Second UFA.


170.   The Second UFA required Plaintiffs to contribute 3% of its “Gross Business

       Volume” to Franchisor for inclusion in the MDF Fund.



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171.   Plaintiffs paid 3% of its “Gross Business Volume” to KeyCorp, via Gigi’s

       Cupcakes, LLC, in accordance with the Second UFA for all months Plaintiffs

       remained in operation.


172.   The Second UFA also states that Franchisor or its designee must “exclusively

       maintain and administer any program Gigi’s shall undertake for national and/or

       regional and/or local advertising, public relations, marketing and market research

       . . .” and that “[n]o part of the MDF Fund shall be used by Franchisor to defray any

       of its general operating expenses other than those reasonably allocable to the MDF

       Program or other activities as are reasonably related to the administration or

       direction of the MDF Program.”


173.   Gigi’s Cupcakes, LLC breached these provisions, inter alia, of the Second UFA by

       failing to consistently or substantially provide national, regional, or local

       advertising for Gigi’s Cupcakes and, upon information and belief, by using the

       MDF Fund to defray general operating expenses.


174.   Plaintiffs suffered damages because of Gigi’s Cupcakes, LLC and KeyCorp’s

       breaches of the contract.


       WHEREFORE, Plaintiffs pray for the relief described at the conclusion of this

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                               EIGHTH CLAIM FOR RELIEF
                (Anticipatory Repudiation - Breach of Contract Against
                         Gigi’s Cupcakes, LLC, and KeyCorp)


175.   Plaintiffs hereby reallege and reassert all preceding Paragraphs of this Original

       Complaint and Jury Demand as if fully set forth herein.


176.   Gigi’s Cupcakes, LLC declared in its June 9, 2017 FDD that it was no longer

       confident in its ability to support its franchisees, including Plaintiffs.


177.   The UFA specifically calls for Gigi’s Cupcakes, LLC to provide certain support and

       services to Plaintiffs.


178.   Gigi’s Cupcakes, LLC’s declaration in the June 9, 2017 FDD is an anticipatory

       repudiation of the UFA, and therefore Defendants have breached the UFA.


179.   Plaintiffs have suffered damages as a result of Gigi’s Cupcakes, LLC and

       KeyCorp’s anticipatory repudiation.


       WHEREFORE, Plaintiffs pray for the relief described at the conclusion of this

Original Complaint and Jury Demand.


                                  NINTH CLAIM FOR RELIEF
                          (Civil Conspiracy Against Defendants)
180.   Plaintiffs hereby reallege and reassert all preceding Paragraphs of this Original

       Complaint and Jury Demand as if fully set forth herein.


181.   Defendants are two or more persons.



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182.   There was an object to be accomplished, to wit, selling franchises to Plaintiffs and

       collecting fees, proceeds from supplies, and royalties therefrom.


183.   Defendants had a meeting of the minds on the object or course of action, as follows.


184.   Gigi’s Cupcakes, LLC and KeyCorp had notice of Prior Franchisor, Gigi, and

       Thompson’s fraudulent misrepresentations. Gigi’s Cupcakes, LLC and KeyCorp

       went on to hire Gigi, Thompson, and other key members of Prior Franchisor’s

       management team to assist in operating the Gigi’s franchise system.


185.   Gigi’s Cupcakes, LLC and KeyCorp knew of Prior Franchisor, Gigi, and

       Thompson’s fraudulent misrepresentations at or before the time KeyCorp

       executed the Asset Purchase Agreement


186.   Upon information and belief, at or before the execution of the Asset Purchase

       Agreement, Gigi’s Cupcakes, LLC, KeyCorp, Prior Franchisor, Gigi, Thompson,

       FundCorp, FBS, and Sovrano agreed to perpetuate and benefit from the

       fraudulently-induced UFAs. Gigi’s Cupcakes, LLC, KeyCorp, Prior Franchisor,

       Gigi’s Holdings, Gigi, Thompson, FundCorp, FBS, and Sovrano thereby entered

       into a common design to perpetuate Prior Franchisor, Gigi, and Thompson’s

       original fraud by concerted action.


187.   Gigi’s Cupcakes, LLC, KeyCorp, Prior Franchisor, Gigi’s Holdings, Gigi,

       Thompson, FundCorp, FBS, and Sovrano perpetuated Prior Franchisor, Gigi, and



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       Thompson’s original fraud by, inter alia, failing to amend, rescind, or renegotiate

       the UFAs with Plaintiffs.


188.   Gigi’s Cupcakes, LLC, KeyCorp, Prior Franchisor, Gigi’s Holdings, Gigi,

       Thompson, FundCorp, FBS, and Sovrano’s respective wrongdoings all caused

       Plaintiffs to suffer damages.


189.   Further, upon information and belief, Gigi’s Cupcakes, LLC, KeyCorp, FundCorp,

       FBS, and Sovrano entered into a common design whereby Gigi’s Cupcakes, LLC

       made payments to the other entities with the intent to hinder, delay, and defraud

       Plaintiffs of their claims.


190.   These parties also knew or should have known Gigi’s Cupcakes, LLC payments

       rendered it unable to satisfy its debts to Plaintiffs.


191.   The above consisted of one or more unlawful, overt acts.


192.   Plaintiffs suffered damages as a proximate result of Gigi’s Cupcakes, LLC,

       KeyCorp, FundCorp, FBS, and Sovrano’s actions.


       WHEREFORE, Plaintiffs pray for the relief described at the conclusion of this

Original Complaint and Jury Demand.


                                TENTH CLAIM FOR RELIEF
                      (Unjust Enrichment Against Prior Franchisor)

193.   Plaintiffs hereby reallege and reassert all preceding Paragraphs of this Original

       Complaint and Jury Demand as if fully set forth herein.

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194.   Plaintiffs conferred benefits upon Prior Franchisor in the form of franchise fees

       and payments pursuant to the UFA.


195.   Prior Franchisor obtained the fees and payments by fraud, duress, or the taking of

       an undue advantage.


196.   Prior Franchisor appreciated Plaintiffs’ payments thereby wrongly securing a

       benefit from Plaintiffs.


197.   Prior Franchisor’s acceptance of these benefits is inequitable in light of the fact that

       it made material misrepresentations to Plaintiffs in the FDD prior to Plaintiffs’

       execution of the UFA.


       WHEREFORE, Plaintiffs pray for the relief described at the conclusion of this

Original Complaint and Jury Demand.


                           ELEVENTH CLAIM FOR RELIEF
          (Unjust Enrichment Against Gigi’s Cupcakes, LLC, and KeyCorp)


198.   Plaintiffs hereby reallege and reassert all preceding Paragraphs of this Original

       Complaint and Jury Demand as if fully set forth herein.


199.   Plaintiffs conferred benefits upon Gigi’s Cupcakes, LLC and KeyCorp in the form

       of franchise fees and payments pursuant to the UFA.


200.   Gigi’s Cupcakes, LLC and KeyCorp obtained the fees and payments by fraud,

       duress, or the taking of an undue advantage.


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201.   Gigi’s Cupcakes, LLC and KeyCorp appreciated Plaintiffs’ payments thereby

       wrongly securing a benefit from Plaintiffs and Gigi’s Cupcakes, LLC continues to

       operate the Gigi’s franchise system and maintain its unsustainable business model.


202.   Gigi’s Cupcakes, LLC’s and KeyCorp’s acceptance of these benefits is inequitable

       in light of the fact that Gigi’s Cupcakes, LLC and KeyCorp had notice of Prior

       Franchisor’s misrepresentations in the FDD at or before the date KeyCorp

       acquired the assets of Prior Franchisor, continues to employ individuals

       responsible for those misrepresentations, and otherwise continues to benefit from

       the contract that was the fruit of those misrepresentations.


       WHEREFORE, Plaintiffs pray for the relief described at the conclusion of this

Original Complaint and Jury Demand.


                              TWELFTH CLAIM FOR RELIEF
                (Declaratory Judgment Against Gigi’s Cupcakes, LLC)

203.   Plaintiffs hereby reallege and reassert all preceding Paragraphs of this Original

       Complaint and Jury Demand as if fully set forth herein.


204.   Plaintiffs seek declaratory judgment that its claims, as described herein, were

       unknown to it at the time they signed the Termination Agreement.


205.   As a result, Plaintiffs seek declaratory judgment that the Termination Agreement

       is not applicable to their claims, as contained in the Original Complaint and Jury




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       Demand, because the Termination Agreement did not release any of Defendants

       for unknown claims.


206.   Plaintiffs also seek declaratory judgment that the Termination Agreement is null

       and void on the basis of fraud and fraudulent inducement.


       WHEREFORE, Plaintiffs pray for the relief described at the conclusion of this

Original Complaint and Jury Demand.


                             THIRTEENTH CLAIM FOR RELIEF
                      (Declaratory Judgment Against Defendants)


207.   Plaintiffs hereby reallege and reassert all preceding Paragraphs of this Original

       Complaint and Jury Demand as if fully set forth herein.


208.   Plaintiffs respectfully request declaratory judgment to determine the respective

       rights between the parties relating to all matters set forth in the Original Complaint

       and Jury Demand.


209.   The rights that Plaintiffs assert are present and cognizable, and all relevant events

       have occurred.


       WHEREFORE, Plaintiffs pray for the relief described at the conclusion of this

Original Complaint and Jury Demand.




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                           FOURTEENTH CLAIM FOR RELIEF
             (Fraudulent Transfer pursuant to Tennessee Code § 66-3-305
                             Against Prior Franchisor)

210.   Plaintiffs hereby reallege and reassert all preceding Paragraphs of this Original

       Complaint and Jury Demand as if fully set forth herein.


211.   Prior Franchisor sustained losses from its operations in 2013 and 2014. Specifically,

       Prior Franchisor recorded a net loss of $16,923 in 2013 and $647,655 in 2014. Upon

       information and belief, Prior Franchisor sustained losses from its operations in

       2015. Gigi’s Cupcakes, LLC’s audited financial statements for the period of June 2,

       2016 through December 25, 2016 show net losses of approximately $361,935.


212.   Upon information and belief, Prior Franchisor was therefore operationally

       insolvent in 2013, when it entered into the UFA with Plaintiffs, through 2016.


213.   In the years 2013 through 2016, Prior Franchisor engaged in numerous related

       party transactions. Prior Franchisor distributed over $200,000 to its members in

       2013 and $74,000 in 2014. Upon information and belief, Prior Franchisor made

       distributions to it members in 2015.


214.   Upon information and belief, Prior Franchisor made the transfers described supra

       with the actual intent to hinder, delay, or defraud Plaintiffs and other franchisees

       in the pursuit of their claims against Prior Franchisor.


       WHEREFORE Plaintiffs pray for the relief described at the conclusion of this

Original Complaint and Jury Demand.

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                             FIFTEENTH CLAIM FOR RELIEF
             (Fraudulent Transfer pursuant to Tennessee Code § 66-3-305
            Against Gigi’s Cupcakes, LLC, KeyCorp and Gigi’s Operating)


215.   Plaintiffs hereby reallege and reassert all preceding Paragraphs of this Original

       Complaint and Jury Demand as if fully set forth herein.


216.   KeyCorp executed an Asset Purchase Agreement Prior Franchisor on May 3, 2016

       whereby KeyCorp acquired substantially all Prior Franchisor’s assets.


217.   Gigi’s Cupcakes, LLC, a wholly-owned subsidiary under KeyCorp’s control, now

       possess substantially all the assets KeyCorp purchased from Prior Franchisor.


218.   Upon information and belief, Gigi’s Cupcakes, LLC did not provide adequate

       consideration to KeyCorp for those assets.


219.   In the alternative, and upon information and belief, KeyCorp transferred the assets

       to Gigi’s Operating, and Gigi’s Operating then transferred the assets to Gigi’s

       Cupcakes, LLC. Gigi’s Operating did not provide adequate consideration to

       KeyCorp for those assets, and Gigi’s Cupcakes, LLC did not provide adequate

       consideration to Gigi’s Operating for those assets.


220.   Pursuant to the express direction of Gigi’s Cupcakes, LLC and KeyCorp, the Gigi’s

       Cupcakes franchise system does not have enough financial support to sustain

       operations.




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221.   Upon information and belief, KeyCorp transferred the purchased assets to Gigi’s

       Cupcakes, LLC, or in the alternative to Gigi’s Operating who then transferred the

       assets to Gigi’s Cupcakes, LLC, with actual intent to hinder, delay, and defraud

       Plaintiffs in pursuit of their claims against KeyCorp.


       WHEREFORE, Plaintiffs pray for the relief described at the conclusion of this

Original Complaint and Jury Demand.


                           SIXTEENTH CLAIM FOR RELIEF
            (Fraudulent Transfer Pursuant to Tennessee Code § 66-3-305
       Against Gigi’s Cupcakes, LLC, KeyCorp, FundCorp, FBS, and Sovrano)


222.   Plaintiffs hereby reallege and reassert all preceding Paragraphs of this Original

       Complaint and Jury Demand as if fully set forth herein.


223.   Gigi’s Cupcakes, LLC sustained losses from operations from June 2 through

       December 25, 2016, and Gigi’s Cupcakes, LLC’s management was unsure of how

       Gigi’s Cupcakes, LLC would meet its obligations in the ordinary course of

       business. Further, by June 9, 2017 Gigi’s Cupcakes, LLC’s financial health left it

       uncertain if it could provide support and services to its franchisees, including

       Plaintiffs.


224.   Pursuant to the express direction of Gigi’s Cupcakes, LLC and KeyCorp, the Gigi’s

       Cupcakes franchise system does not have enough financial support to sustain

       operations.




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225.   On or about December 25, 2016, Gigi’s Cupcakes, LLC was operationally insolvent

       by at least $360,000.


226.   During the June 2 through December 25, 2016 period, Gigi’s Cupcakes, LLC

       entered into many related party transactions. Specifically, Gigi’s Cupcakes, LLC

       paid FundCorp a $500,000 loan fee for FundCorp’s guarantee of Gigi’s Cupcakes,

       LLC’s long-term debt and $51,136 for rent of property, Gigi’s Cupcakes, LLC paid

       KeyCorp $105,000 in management fees, and Gigi’s Cupcakes, LLC paid FBS

       $783,695 for “general and administrative services, including payroll serves.” Gigi’s

       Cupcakes, LLC also owes Sovrano $46,867 for payments Sovrano made to FBS for

       services it shared with Gigi’s Cupcakes, LLC.


227.   Upon information and belief, the related entities mentioned in the previous

       Paragraph did not provide reasonably equivalent value in exchange for Gigi’s

       Cupcakes, LLC’s payments.


228.   Upon information and belief, Gigi’s Cupcakes, LLC made the transfers described

       supra with the actual intent to hinder, delay, or defraud Plaintiffs and other

       franchisees in the pursuit of their claims against Gigi’s Cupcakes, LLC.


229.   Further, Gigi’s Cupcakes, LLC was and is engaged in business and transactions

       with its franchisees for which its remaining assets are unreasonably small in

       relation to the business and transactions.




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230.   Upon information and belief, Gigi’s Cupcakes, LLC intended to incur debts

       beyond its ability to pay as they became due. In the alternative, Gigi’s Cupcakes,

       LLC reasonably should have believed that it would incur debts beyond its ability

       to pay as they became due.


       WHEREFORE, Plaintiffs pray for the relief described at the conclusion of this

Original Complaint and Jury Demand.


                           SEVENTEENTH CLAIM FOR RELIEF
              (False and Misleading Statements Under Tex. Bus. & Com.
                      Code Ann. § 51.301 against all Defendants)

231.   Plaintiffs hereby reallege and reassert all preceding Paragraphs of this Original

       Complaint and Jury Demand as if fully set forth herein.


232.   Defendants employed representations, devices, schemes or artifices to deceive

       Plaintiffs as purchasers.


233.   Defendants made untrue statements of material facts or omitted to state one or

       more material facts in connection with the documents and information required

       to be provided to the secretary of state or purchaser.


234.   Defendants represented that the business opportunity provided or would have

       provided income or earning potential without:

          a. documented data to substantiate the representation of income or earning

              potential; and




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             b. disclosure of such data to the purchaser when the representation was made;

                or


235.   Defendants made claims or representations that were inconsistent with the

       information required to be disclosed by Tex. Bus. & Com. Code Ann. Chapter 51

       in:

             a. advertising or other promotional material; or

             b. an oral sales presentation, solicitation, or discussion between Prior

                Franchisor and Plaintiffs.


       WHEREFORE, Plaintiffs pray for the relief described at the conclusion of this

Original Complaint and Jury Demand.


                              EIGHTEENTH CLAIM FOR RELIEF
               (Deceptive Trade Practices Against all Defendants Pursuant to
             Deceptive Trade Practices Act, Tex. Bus. & Com. Code Ann. § 17.46)

236.   Plaintiffs hereby reallege and reassert all preceding Paragraphs of this Original

       Complaint and Jury Demand as if fully set forth herein.


237.   Plaintiffs are consumers pursuant to Tex. Bus. & Com. Code Ann. § 17.50.


238.   Defendants violated the Deceptive Trade Practices Act (“DTPA”) by:

             a. causing confusion or misunderstanding as to affiliation, connection, or

                association with, or certification by, another; and

             b. failing to disclose information concerning goods or services which was

                known at the time of the transaction if such failure to disclose such

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             information was intended to induce the consumer into a transaction into

             which the consumer would not have entered had the information been

             disclosed.


      WHEREFORE, Plaintiffs pray for the relief described at the conclusion of this

Original Complaint and Jury Demand.


                                      V. PRAYER


      Plaintiffs pray that this Court enter its Judgment awarding Plaintiffs the following

relief against the Defendants:


             a.     An Order declaring the respective rights between the parties relating

                    to all matters set forth in the Original Complaint and Jury Demand;


             b.     An Order rescinding the UFA;


             c.     An Order rescinding the Second UFA;


             d.     An Order rescinding the Termination Agreement;


             e.     Compensatory, consequential, and incidental damages;


             f.     Punitive damages;


             g.     Plaintiffs’ attorneys’ fees and costs in this matter including expert

                    witness fees, if any;




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          h.      Pre- and post-judgment interest on all amounts due and owing to

                  Plaintiffs, including attorney’s fees, if applicable; and


          i.      Such other and further relief this Court deems just and proper.


                                 VI. JURY DEMAND

  Plaintiffs request that a jury resolve all issues in this case properly triable before a jury.

  DATED: September 7, 2018                        Respectfully submitted,

                                                  FERGUSON, BRASWELL,
                                                  FRASER, KUBASTA, PC


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